972 F.2d 341
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David Wayne MOORE, Petitioner-Appellant,v.Edward W. MURRAY, Director of the Virginia Department ofCorrections, Respondent-Appellee.
    No. 92-6189.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 30, 1992Decided:  July 31, 1992
    
      David Wayne Moore, Appellant Pro Se.
      John H. McLees, Jr., OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellee.
      Before RUSSELL, PHILLIPS, and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      David Wayne Moore seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.s 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Moore v. Murray, No. CA-91-563-N (E.D. Va.  Feb. 7, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    